    Case 2:09-cr-00125-JCZ-MBN            Document 227        Filed 04/08/13      Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                             CRIMINAL DOCKET NO. 09-125

VERSUS                                               SECTION: “A”

KALIC JACKSON                                        MAGISTRATE: 5

                                    ORDER AND REASONS

       Kalic Jackson filed a Motion to Request Modification of Sentence Pursuant to Title 18

U.S.C. 3582(c)(2) with attached correspondence asking that it be considered as a Motion to Vacate,

Set Aside, and Correct his sentence pursuant to 28 U.S.C. § 2255 (Rec. Doc. #226), based on the

Fair Sentencing Act of 2010. For the following reason the Motion is DENIED.

       On August 18, 2009, Kalic Jackson plead guilty to counts 1, 2 and 8 of a 12 count indictment

charging him with conspiracy to possess with intent to distribute five grams or more of cocaine base

and distribution of five grams or more of cocaine base in violation of Title 21 Section 841(a)(1),

(b)(1)(B) and 846(b)(1)(A). On February 22, 2010, he was sentenced to 120 months imprisonment

as to Counts 1, and a term of 60 months imprisonment as to Counts 2 and 8, to be served

concurrently. On February 10, 2012 this Court denied a motion pursuant to 18 U.S.C. 3582(c)(2)

because the defendant was serving a mandatory minimum sentence.

       The Fair Sentencing Act was passed on August 3, 2010. The Supreme Court’s decision

in Dorsey v. United States, 132 S. Ct. 2321 (2012), held that the Fair Sentencing Act’s new,

lower mandatory minimums apply retroactively to the post-Act sentencing of pre-Act offenders.

Dorsey, 132 S. Ct. at 2336. Because Kalic Jackson was sentenced on February 22, 2010, before

the Acts was passed, he is not eligible for a reduction of his mandatory minimum.

       For the foregoing reasons, Jackson’s 28 U.S.C. § 2255 Motion to Vacate, Set Aside, and

Correct the Original Sentence is DENIED.

       New Orleans, Louisiana, this 5 day of April, 2013.



                                                     ____________________________________
Case 2:09-cr-00125-JCZ-MBN   Document 227   Filed 04/08/13   Page 2 of 2



                                     UNITED STATES DISTRICT JUDGE
